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THE ATKIN FIRM, LLC
Formed in the State of New Jersey
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Attorneys for Plaintiff Strike 3 Holdings, LLC

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


STRIKE 3 HOLDINGS, LLC,
                                                  Civil Action No. ______________
                   Plaintiff,

v.                                                       L. Civ. R. 7.1.1
                                                    DISCLOSURE STATEMENT
JOHN DOE subscriber             assigned     IP
address 98.110.53.202,

                   Defendant.


      PLEASE TAKE NOTICE, pursuant to L. Civ. R. 7.1.1, that no person or

entity that is not a party is providing funding for some or all of the attorneys’ fees

and expenses for the litigation on a non-recourse basis in exchange for (1) a

contingent financial interest based upon the results of the litigation or (2) a non-

monetary result that is not in the nature of a personal or bank loan, or insurance.

DATED: July 7, 2021                        Respectfully submitted,

                                           /s/ John C. Atkin, Esq.
                                           JOHN C. ATKIN

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